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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

   LINDA FAIRSTEIN,                                  )
                                                     )
                    Plaintiff,                       )   Case No: 2:20-cv-00180-FtM-66MRM
                                                     )
                    v.                               )
                                                     )
   NETFLIX, INC., AVA DUVERNAY,                      )
   and ATTICA LOCKE,                                 )
                                                     )
                                                     )
                    Defendants.                      )

                                 DECLARATION OF JAMILA JANNEH

             I, Jamila Janneh, declare as follows:

             1.     I am a paralegal at Nesenoff & Miltenberg, LLP. This declaration is based on my

   personal knowledge.

             2.     I was responsible for compiling portions of Plaintiff’s document appendix and

   organizing the appendix for submission to the Court with Plaintiff’s opposition briefing.

             3.     As part of my work I retrieved, and downloaded, copies of a number of transcripts

   and other documents from the New York City Law Department website http://www.nyc-

   cpj.org/Home/Disclaimer. As necessary, I then prepared excerpted copies of those transcripts and

   documents for use in Plaintiff’s appendix.

             4.     All documents contained within Plaintiff’s appendix that bear the Bates stamp

   “NYCLD_” are documents, or excerpts of documents, that I downloaded from the New York City

   Law Department website. They are true and correct to the best of my knowledge, information and

   belief.
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